                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               WAYCROSS DIVISION


 DAVID MICHAEL SLAUGHTER,

                Plaintiff,                                  CIVIL ACTION NO.: 5:15-cv-90

        v.

 TOM GRAMIAK, et al.,

                Defendants.


                                            ORDER

       After an independent and de novo review of the entire record, the undersigned concurs with

the Magistrate Judge’s Report and Recommendation, (doc. 120). No party to this action filed

Objections to the Report and Recommendation. Accordingly, the Court ADOPTS the Magistrate

Judge’s Report and Recommendation as the opinion of the Court, GRANTS Defendant Bennett-

Patten’s Motion for Summary Judgment, (doc. 115). The Clerk of Court is DIRECTED to

terminate Defendant Bennett-Patten on the docket of this case.

       Given the current procedural posture of this case, the Court finds it appropriate to provide

directions to the parties regarding the opportunity to have this case assigned to a United States

Magistrate Judge. Recognizing the United States Magistrate Judges’ expertise regarding the

subject matter of this case, the Court has designated the Magistrate Judges of this District to

exercise plenary jurisdiction over this type of case. Consequently, if all parties consent, the Court

will assign this case to a Magistrate Judge, and that Magistrate Judge will thereafter conduct any

and all proceedings in this matter, including any trial and entry of final judgment pursuant to 28

U.S.C. § 636(c). If any party does not consent, the Court will not assign this case to the Magistrate

Judge. Each party is free to withhold consent to the assignment, and no party will suffer any
substantive consequences from withholding consent. However, in the Court’s experience, cases

of this subject matter are typically resolved more efficiently if the entire action is assigned to a

Magistrate Judge.

        If any party does not consent to this case being assigned to a Magistrate Judge, the Court

will still refer all pretrial matters to a Magistrate Judge in the following manner:

            •   Pursuant to 28 U.S.C. § 636(b)(1)(A), even if the parties do not consent and the

                case is not assigned to a Magistrate Judge, the Court will refer any and all non-

                dispositive pretrial matters to a Magistrate Judge for a determination. 1              The

                District Judge will only reconsider the Magistrate Judge’s decision as to any

                non-dispositive pretrial matter if the decision is clearly erroneous or contrary to

                law.

            •   Pursuant to 28 U.S.C. § 636(b)(1)(B), even if the parties do not consent and the

                case is not assigned to a Magistrate Judge, the Court will refer all dispositive

                motions to a Magistrate Judge for a recommendation. As to any such dispositive

                motions, the Magistrate Judge will submit a Report and Recommendation to the

                District Judge with proposed findings of fact and recommendations for

                disposition. The District Judge will then make a de novo determination of those

                portions of the Report and Recommendation to which any party objects, and the

                District Judge may accept, reject, or modify, in whole or in part, the findings

                and recommendations made by the Magistrate Judge.


1
  Non-dispositive pretrial matters include all pretrial motions except for the following motions: motions
for injunctive relief, for judgment on the pleadings, for summary judgment, to dismiss or to permit
maintenance of a class action, to dismiss for failure to state a claim upon which relief can be granted, and
to involuntarily dismiss an action. These excepted motions are hereinafter referred to as “dispositive
motions.”


                                                     2
         The Clerk of Court shall attach to this Order the Court’s form entitled “Statement

Regarding Assignment of Case to a United States Magistrate Judge.” 2 Each party remaining

in this case shall use this form to indicate whether the party consents or declines to consent to the

Court assigning this case to a Magistrate Judge. Plaintiff and the remaining defendants must

separately complete, sign, and file this form within fourteen (14) days of the date of this Order.

Any pro se party shall sign the form directly, and counsel for any represented party or parties shall

sign the form on the represented parties’ behalf. If counsel represents more than one party, counsel

may file a joint form for all of counsel’s clients who make the same election regarding assignment

to a Magistrate Judge. 3       In accordance with 28 U.S.C. 636(c)(2)’s directive to “protect the

voluntariness of the parties’ consent,” the executed forms shall be filed on the docket in a restricted

manner whereby only the filing party and the office of the Clerk of Court may access the actual

filing. 4 However, the filing shall be docketed in such a manner whereby the docket entry reflecting

the parties’ filing of the form (but not the substance of the party’s election) shall be viewable to

the Court. Any party failing to timely file an executed Statement Regarding Assignment of Case

to United States Magistrate Judge may face sanctions including but not limited to the striking of

the party’s claims or defenses.




2
    This form is also available on the Court’s website at www.gasd.uscourts.gov/Judge-Baker-Civil-Cases.
3
  For example, if all of counsel’s clients consent to assignment to a Magistrate Judge, counsel may file one
joint Statement Regarding Assignment indicating that those parties all consent.
4
   Pro se parties may mail the executed Statement Regarding Assignment of Case to United States
Magistrate Judge to the Clerk of Court, and the Clerk will file it in a restricted manner. Counsel shall use
the Court’s electronic case filing system to file the Statement. Counsel shall use the event in CM/ECF titled
“Statement Regarding Assignment of Case to United States Magistrate Judge” located under Civil
Events → Other Filings → Other Documents, and the document will automatically be filed in a restricted
manner.


                                                     3
      All other deadlines in this case, including the deadline for the filing of the pretrial order,

are hereby CONTINUED until further order of the Court.

      SO ORDERED, this 24th day of June, 2021.




                                     R. STAN BAKER
                                     UNITED STATES DISTRICT JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA




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